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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


WILLIAM G. CLOWDIS, JR., M.D,,

     Plaintiff,

V.                                         Civil Action No. 3:15-cv-128


JOEL JEREMY SILVERMAN, M.D.,
et al..

     Defendants.



                                       ORDER


     For the    reasons set forth         in the        accompanying Memorandum

Opinion, it is hereby ORDERED that the Commonwealth Defendants' THIRD

AMENDED MOTION TO DISMISS (EOF No. 106); RENEWAL AND SUPPLEMENTATION

OF MOTIONS TO DISMISS BY DEFENDANTS JOEL JEREMY SILVERMAN, M.D.; MCV

ASSOCIATED PHYSICIANS; AND VIRGINIA COMMONWEALTH UNIVERSITY HEALTH

SYSTEM   AUTHORITY      (EOF     No.    108);     and     SECOND     RENEWAL   AND

SUPPLEMENTATION    OF   MOTIONS   TO    DISMISS    BY   DEFENDANTS    JOEL   JEREMY


SILVERMAN,    M.D.;     MCV     ASSOCIATED        PHYSICIANS;      AND   VIRGINIA

COMMONWEALTH UNIVERSITY HEALTH SYSTEM AUTHORITY (EOF No. 129) are

granted in their entirety.

     Furthermore, it is hereby ORDERED that:

     (1) PLAINTIFF WILLIAM G. CLOWDIS. JR., MD'S MOTION TO STAY

PROCEEDINGS PENDING THE OUTCOME OF HIS PETITION FOR CERTIORARI TO


THE UNITED STATES SUPREME COURT REGARDING HIS STATE AGENCY APPEAL


(ECF No. 105) is denied as moot because Plaintiff has informed the

Court that his petition for certiorari was denied (ECF No. 121); and
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      (2) PLAINTIFF WILLIAM G. CLOWDIS. JR., MD'S MOTION TO STAY

PROCEEDINGS PENDING THE OUTCOME OF HIS PETITION FOR CERTIORARI TO

THE UNITED STATES SUPREME COURT REGARDING HIS STATE AGENCY APPEAL

(ECF No. Ill) is denied as moot because Plaintiff has informed the

Court that his petition for certiorari was denied (ECF No. 121); and

      (3) PLAINTIFF WILLIAM G. CLOWDIS. JR., MD'S MOTION TO REINSTATE

HIS DAMAGE CLAIMS I THROUGH IX, INCLUDING HIS REFERENCED DAMAGE CLAIM

ALLEGATIONS THERETO CONTAINED IN COUNT X (ECF No. 112) is denied for

the reasons set forth in the accompanying Memorandum Opinion and the

decision by the Fourth Circuit in Clowdis v. Silverman, 666 Fed. Appx.

267 (4th Cir. 2016); and

      (4) PLAINTIFF WILLIAM G. CLOWDIS. JR., MD'S MOTION FOR THIS

COURT TO HAVE THE CLERK FILE HIS ORIGINAL EXHIBIT A TO HIS ORIGINAL


COMPLAINT WITH AN EFFECTIVE FILING DATE OF MARCH 03, 2015 (ECF No.

116) is denied as moot; and

      (5) PLAINTIFF WILLIAM G. CLOWDIS. JR., MD'S MOTION FOR LEAVE

OF COURT TO HAVE THE CLERK PROVIDE A NEW SUMMONS FOR SERVICE BY THE


U.S. MARSHAL TO THE VCU DEFENDANTS (ECF No. 117) is denied as moot;

and


      (6) PLAINTIFF WILLIAM G. CLOWDIS. JR., MD'S NOTICE OF MOTION

AND MOTION TO VACATE JUDGMENTS FOR FRAUD ON THE COURT (ECF No. 122)

is denied for laclc of jurisdiction because the MOTION asks the Court

to review and vacate state court judgments; and

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     (7) DEFENDANTS JOEL JEREMY SILVERMAN, M.D., MCV ASSOCIATED

PHYSICIANS   AND     VIRGINIA   COMMONWEALTH   UNIVERSITY   HEALTH   SYSTEM

AUTHORITY'S MOTION TO JOIN THE COMMONWEALTH DEFENDANTS' RESPONSE TO

PLAINTIFF'S RULE 60 MOTON (ECF No. 127) is denied as moot; and

     (8) PLAINTIFF WILLIAM G. CLOWDIS, JR., MD'S MOTION FOR EXTENSION

OF TIME TO REPLY TO THE UNSERVED COMMONWEALTH DEFENDANTS' OPPOSITION

TO PLAINTIFF'S MOTION TO AMEND, SUPPLEMENT, AND FILE HIS COMPLAINT

(ECF No. 139) is denied as moot; and

     (9) PLAINTIFF WILLIAM G. CLOWDIS, JR., MD'S MOTION TO ACCORD

FULL FAITH AND CREDIT TO COLORADO JUDGMENTS AND TO DECLARE VOID AND


VACATE THE VIRGINIA ORDERS FOR LACK OF SUBJECT MATTER JURISDICTION

(ECF No. 143) is denied for lack of jurisdiction because the MOTION

asks the Court to review and vacate state court decisions.


     Furthermore, having considered PLAINTIFF WILLIAM G. CLOWDIS,

JR., MD'S MOTION TO AMEND AND SUPPLEMENT HIS COMPLAINT, ADD AND

REINSTATE    NAMED    DEFENDANTS,   CORRECT    MISNOMERS,   REINSTATE   HIS

CONSOLIDATED DAMAGES CLAIMS, AND SERVE IT UPON DEFENDANTS (ECF No.

132), and the supporting and opposing memoranda thereto, it is hereby

ORDERED that this MOTION (ECF No. 132) is denied as futile and

prejudicial to the Defendants. The Court finds that the Plaintiff

has had three previous opportunities to amend his Complaint, that

the claims are barred as set forth in the accompanying Memorandum

Opinion and the Fourth Circuit's decision in Clowdis v. Silverman,

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666 Fed. Appx. 267 (4th Cir. 2016), and that the Defendants would

be prejudiced by having to respond to Clowdis' THIRD AMENDED

COMPLAINT.


     The Plaintiff is advised that he shall not file anything further

in this case that contravenes the accompanying Memorandum Opinion,

the Fourth Circuit's decision in Clowdis v. Silverman, 666 Fed. Appx.

267 (4th Cir. 2016), or this ORDER.

     The Court dispenses with oral argument because the facts and

legal conclusions are adequately presented in the materials and oral

argument would not aid in the decisional process.

     Any appeal from this decision must be taken by filing a written

notice of appeal with the Clerk of the Court within thirty (30) days

of the date of entry hereof.       Failure to file a timely notice of

appeal may result in the loss of the right to appeal.

     The Clerk is directed to send a copy of this Order to the

Plaintiff.


     It is so ORDERED.



                                                  /s/          fiep
                                   Robert E. Payne
                                   Senior United States District Judge



Richmond, Virginia
Date: March    ZS, 2019
